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 4
     Attorney for HUGO CHAVEZ DE LA CRUZ
 5
 6                               UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )                 2:10-CR-413-MCE
 9                                         )
                           Plaintiff,      )                 STIPULATION AND
10                                         )                 ORDER VACATING DATE,
     vs.                                   )                 CONTINUING CASE AND
11                                         )                 EXCLUDING TIME
                                           )
12   HUGO CHAVEZ DE LA CRUZ,               )                 Date : 6/21/12
                                           )                 Time : 9:00 a.m.
13                         Defendant       )                 Court : Hon. Morrison C. England, Jr.
     _____________________________________ )
14
            IT IS HEREBY STIPULATED by and between Plaintiff United States of America,
15
     through Assistant United States Attorney Paul A. Hemesath, and Defendant Hugo Chávez De
16
     La Cruz, through his counsel, Gilbert A. Roque, that the Status Conference scheduled for April
17
     26, 2012, at 9:00 a.m., be vacated and the matter be continued to June 21, 2012, at 9:00 a.m.,
18
     before the Honorable Morrison C. England, Jr.
19
            This continuance is requested by both the Government and the defense in order to
20
     permit further investigation.
21
            IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18 U.S.C.
22
     § 3161 et seq. be tolled pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), Local Code T-4
23
     (time to prepare), and that the ends of justice served in granting the continuance and allowing
24
     more time to prepare outweigh the best interests of the public and defendant in a speedy trial.
25
            IT IS SO STIPULATED.
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                                               Respectfully submitted,
27   DATED: April 23, 2012                     /s/ Gilbert A. Roque
                                               GILBERT A. ROQUE, Attorney for
28                                             HUGO CHAVEZ DE LA CRUZ, Defendant

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 1
     DATED: April 23, 2012                      /s/ Paul A. Hemesath
 2                                              PAUL A. HEMESATH
                                                Assistant United States Attorney
 3                                              Attorney for Plaintiff
 4
 5                                               ORDER
 6          The Court, having received, read and considered the stipulation of the parties, and good
 7   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
 8   Based on the stipulation of the parties, the Court finds that the ends of justice served by the
 9   granting of such continuance outweigh the best interests of the public and the defendant in a
10   speedy trial, and orders that the time from the date of the parties’ stipulation, April 23, 2012,
11   to and including the new Status Conference, June 21, 2012, shall be excluded from
12   computation of time within which the trial of this case must be commenced under the Speedy
13   Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4 (reasonable
14   time for counsel to prepare).
15          It is further ordered that the April 26, 2012, Status Conference is vacated and shall be
16   continued until June 21, 2012, at 9:00 a.m.
17          IT IS SO ORDERED.
18
      Dated: April 26, 2012
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20                                                ______________________________
                                                  MORRISON C. ENGLAND, JR.
21
                                                  UNITED STATES DISTRICT JUDGE
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